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Form CGFI14 (10/10/14)


                                                    United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov

                                                                              Adversary Number: 20−01120−EPK
Case Number: 18−14162−EPK



In re:
Name of Debtor(s): Forte Interactive, Inc.
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−− /

Deborah Menotte, Chapter 7 Trustee
                                                                              ALL DOCUMENTS REGARDING THIS MATTER
Plaintiff(s)                                                                  MUST BE IDENTIFIED BY BOTH ADVERSARY
                                                                              AND BANKRUPTCY CASE NUMBERS
VS.

Albert Clay Williams, Marianna Williams, Robert Anderson,
313 Datura, LLC, The Achieve Agency, LLC a/k/a NonProfit
Advisors, LLC, Achieve of Florida, LLC and Wells Fargo
Bank, National Association
Defendant(s)
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−/




                              SUMMONS AND NOTICE OF PRETRIAL/TRIAL
                                  IN AN ADVERSARY PROCEEDING


YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with the
clerk of the bankruptcy court at the address indicated below within 30 days, pursuant to BR 7012, after the date of issuance of
this summons, except that the United States and its offices and agencies shall submit a motion or answer to the complaint within
35 days.


Flagler Waterview Bldg
1515 N Flagler Dr #801
West Palm Beach FL 33401



At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

         Name and Address of Plaintiff's Attorney
         Rilyn A Carnahan Esq.
         Greenspoon Marder, P.A.
         CityPlace Tower
         525 Okeechobee Boulevard #900
         W Palm Beach, FL 33401


If you make a motion, your time to answer is governed by Bankruptcy Rule 7012. Pursuant to BR 7007.1, and Local Rule
7003−1(B)(2) corporate defendants must file a corporate ownership statement.




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                                PRETRIAL CONFERENCE INFORMATION:



Date: June 11, 2020
Time: 09:30 AM
Location: Flagler Waterview Building, 1515 N Flagler Dr Room 801 Courtroom B, West Palm Beach, FL 33401




                                           TRIAL INFORMATION:



                 THE TRIAL WILL BE SCHEDULED AT THE PRETRIAL CONFERENCE




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY
OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR
THE RELIEF DEMANDED IN THE COMPLAINT.




                                                                   Clerk of Court
                                                                   By: Lorraine Adam
                                                                   Deputy Clerk




 Dated: March 27, 2020




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                                     CERTIFICATE OF SERVICE

I, ___________________________________________ (name), certify that service of this summons and a
copy of the complaint was made __________________ (date) by:

         Mail Service: Regular, first class United States mail, postage fully pre−paid, addressed to:




         Personal Service: By leaving the process with defendant or with an officer or agent of
         defendant at:




         Residence Service: By leaving the process with the following adult at:



         Certified Mail Service on an Insured Depository Institution: By sending the process by certified
         mail addressed to the following officer of the defendant at:




         Publication: The defendant was served as follows: [Describe briefly]



         State Law: The defendant was served pursuant to the laws of the State of
         ________________________, as follows: [Describe briefly]

If service was made by personal service, by residence service, or pursuant to state law, I further certify that
I am, and at all times during the service of process was, not less than 18 years of age and not a party to
the matter concerning which service of process was made.

Under penalty of perjury, I declare that the foregoing is true and correct.


Date: __________________________                Signature: _______________________________________


                       Print Name:

                       Address:

                       City:                     State:            Zip:

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